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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


   INDIA BANKS,

          Plaintiff,

   v.                                                     CASE NO. 8:17-cv-2201-T-23AAS

   KENNETH REES, et al.,

        Defendants.
   ____________________________________/


                NOTICE OF DESIGNATION UNDER LOCAL RULE 3.05

          Under Local Rule 3.05, this action is designated as a track TWO case.

   Attached is a letter from the judges of the Middle District of Florida and a form for

   consenting to the magistrate judge.


                                                    ELIZABETH WARREN,
                                                    Clerk of Court

   Date: September 25, 2017                         By:      Sara Behnke
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          Case 8:17-cv-02201-SDM-AAS Document 10 Filed 09/25/17 Page 3 of 3 PageID 64
AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                            for the
                                                        __________ District of __________

                                                                                )
                                 Plaintiff                                      )
                                    v.                                          )     Civil Action No.
                                                                                )
                               Defendant                                        )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


              Parties’ printed names                                   Signatures of parties or attorneys                      Dates




                                                                    Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                  District Judge’s signature



                                                                                                    Printed name and title

Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.



         Print                           Save As...                                                                             Reset
